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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                                CASE NO. 1:94-cr-01009-MP-AK

JOHN RICHARD KNOCK,

      Defendant.
___________________________/

                                             ORDER

       This matter is before the Court on Doc. 986, Motion for Decree of Forfeiture of

Substitute Property by USA as to John Richard Knock. Being fully advised in the premises, the

Court finds:

       On February 11, 2005, the Court entered a Preliminary Order Of Forfeiture against the
       following property: $3,122.53 and $9,620.00 in United States Currency pursuant to the
       provisions of 21 U.S.C. 853 and based upon the Defendant’s conviction and the
       Forfeiture Count of the indictment;

       On February, 21, 2005, the United States published in the Gainesville Sun, a newspaper
       of general circulation, notice of this forfeiture and the intent of the United States to
       dispose of the property, in accordance with the law, and further notifying all third parties
       of their right to file a petition within thirty (30) days of the final publication setting forth
       their interest in said property; and

       No other persons or entities having an interest in the above referenced property have filed
       timely petitions.

       Accordingly, it is hereby
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        ORDERED AND ADJUDGED:

        The United States Motion for a Final Order Of Forfeiture, Doc. 986, is GRANTED. The
        right, title and interest to the above-referenced property, is hereby condemned, forfeited
        and vested in the United States of America, and shall be disposed of in accordance with
        the law.

        DONE AND ORDERED this 4th               day of May, 2005.



                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge




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